Case 3:16-cv-00544-MAB Document 51-3 Filed 12/14/16 Page 1lof5 Page ID #237
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was PAT QUINN
| llinois Governor
Department of S.A, GODINEZ
Corrections Director

1301 Concordia Court / P.O, Box 19277 / Springfield IL 62794-9277 / Telephone: (217) 558-2200 / TDD: (800) 526-0844
November 5, 2014

Gerry Armbruster
2005 14th St
Granite City, IL 62040

Dear Mr. Armbruster:

This is in response to your grievance received on June 26, 2014, regarding Medical (HCU Yisit of 5/1 3/14)

which was alleged to have occurred at Southwestern Illinois Correctional Center. This office has determined
the issue will be addressed without a formal hearing,

This office has reviewed your grievance dated May 79, 2014, which states in summary that you believe the
Doctor at Southwestern failed to properly treat you for the’ following symptoms on May 13, 2014: numbness
in ail finger tips, no grip in right hand, numbness throughout right arm up to neck area, tingling sensation on
“left side" and both calfs hurt. You write the Doctor stated you were only dehydrated and to drink more water,
As you disagreed, you write you left the Doctor's Office.

The Grievance Officer's Report (9-6-14} and subsequent recommendation dated June 12, 2014 and
approval by the Chief Administrative Officer on June 12, 2014 have been reviewed.

The HCU's response, cited within this report, was reviewed by this office.

Based on a total review of ail available information, it is the opinion of this office that the issue was

appropriately addressed by the institutional administration. It ls, therefore, recommended the grievance be
denied,

FOR THE BOARD: She My] ‘Be VW toh

Sherry Benton |
Administrative Review Board
Office of Inmate Issues

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S.A. Godinez

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Director ak il h ad

 

CONCURRED:

cc: Warden, Southwestern Iilinois Correctional Center
Gerry Armbruster, Register No. S02006

EXHIBIT

 
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Sum meg of Grievance :

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Nd 1g.0n. SLIGANY, Alo, Naproxen 500mg or
pain. reliever, Alea, on 5/3/14,

 

 

 

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544-MJR-SCW Document1 Fifer 05/:
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RESPONSE TO OFFENDER'S GRIEVANCE

 

 

} Grievance Offleer’'s Report |
Date Recelved: JineJI,2014 ss Date of Review: June J2.20[4  Grlevance # {apttonaly: 9-6-14
Offender: Armbuister, Gerry Arm brester (D¥: $02006

 

Nature of Grievance: Medical Treatment

Facts Reviewed: Offender Armbruster claims to have issues of numbness in all of his finger tips and through the right arm, up to the neck area, no
frip in bis right hand, end tingting sensations on left side and both calves hurt, throwing off his balance. Offender Armbruster requests proper

treatment for his problems.

Offender Armbruster $02006 was seen by medical personnel everyday starting on 5/13/14 thru 5/21/14, The HCU Administrator stated that the
offender showed evidence of hypertendion and was scheduled for follow ups with the physician, and the. offender my submit a nurse sick call request

anytime,

Recommendation: Based on the statement above by HCUA Hohnsbehn, that the offender was seen by medical personne! on a regular basis for
elght consceutive days, from 5/23 to 5/21, and was encouraged to submit a nurse sick call request anytime, thls investigation finds no substance to
this grievance. HCUA Hahnsbehn stated in her response that Armbraster complained about pain and tingling ever since “picking up toxic trays”
during his job assignment for Safety Sanitation, Dr. Shaw's exam revealed that Armbruster had equal bilateral grip strenth, and all of the Joints,
including the spiné moved through & full range of motion. Dr, Shaw ordered Armbruster back exercises and a follow-up for blood pressure checks
twice dally. This offender has been receiving ongoing medical asseasments. This Grievance Officer recommends grievance be dinied,

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T. Robini '
Print Grievance Offfcar'a Name evanced cers Signature
(Attaol a copy of Offender's Grlavance, including counselor's response If a ibia)
| Chief Administrative Officer's Response |
‘Date Received:, b/fty wl | concur 1 [donot concur ( Remand
Comments:

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Offender's Appeal To The Director |

 

[am appealing the Chief Administrative Officer's decision to the Director. | understand thls appeal must be submited within 30 days alter the date of the
Chiat Adminisirattye Officer's decision to the Administrative Review Board, P.O, Box 19277, Springflakd, il. 62794-8277, (Attact a complete copy of the
original grievanes, Including tha counselors raspones, if applleabla, and any partinent dacumente,)

 
 

~2O20M%0 ~l%~

IDs Date

 

 

Offender’s Signature

 

 

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